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                                UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF UTAH


                                                                       UNITED STATES’ EXHIBIT LIST
          UNITED STATES OF AMERICA                                                       Updated: 10-01-2019
                        V.
             LEV ASLAN DERMEN,
                                                                           Case Number: 2:18-CR-00365-JNP-BCW
            a/k/a Levon Termendzhyan

PRESIDING JUDGE                                PLAINTIFF’S ATTORNEY                 DEFENDANTS’ ATTORNEY

                                                 Richard M. Rolwing, Leslie A.
            Judge Jill N. Parrish                Goemaat, Arthur J. Ewenczyk,                      Mark J. Geragos
                                                       John E. Sullivan

TRIAL DATE (S)                                 COURT REPORTER                       COURTROOM DEPUTY
 October 14, 2019 – November 22, 2019                                                        Stephanie Schaerrer
 PLF.     DEF.    DATE
                           MARKED   ADMITTED                             DESCRIPTION OF EXHIBITS
 NO.      NO.    OFFERED
1-1                                            SUMMARY OF 39 CLAIMS FOR REFUND FILED WITH THE IRS ON BEHALF OF WRE
                                               AND UFS
1-2                                            SUMMARY OF TREASURY CHECKS ISSUED TO WRE

1-3                                            SUMMARY OF 39 CLAIMS FOR REFUNDS PREPARED FOR WRE AND UFS BY
                                               THINKTRADE
1-4                                            SUMMARY OF WRE, CATAN, AND SCM FINANCIAL TRANSACTIONS AUG 2013-
                                               MAR 2014
1-5                                            SUMMARY OF WRE OUTGOING WIRE TRANSFER REQUESTS TO CATAN

1-6                                            SUMMARY OF WRE, CATAN, AND SCM FINANCIAL TRANSACTIONS SEP-OCT 2014

1-7                                            SUMMARY OF WRE, CATAN, AND SCM FINANCIAL TRANSACTIONS APRIL 2015

1-8                                            SUMMARY OF WRE, CATAN, AND SCM FINANCIAL TRANSACTIONS NOV 2015-JAN
                                               2016
1-9                                            SUMMARY OF WRE, UFS, XENA, AND UNION FUELS FINANCIAL TRANSACTIONS
                                               NOV 2015-JUNE 2016
1-10                                           FLOW OF FUNDS MARCH 16 THRU MAY 27, 2015

1-11                                           SUMMARY OF BANK RECORDS

2-1                                            SUMMARY OF FINANCIAL TRANSACTIONS RELATING TO LEV DERMEN

2-2                                            FUNDS TRANSFERRED TO AND FROM WASHAKIE AND SBK HOLDINGS USA, INC.

2-3                                            SUMMARY OF INTERNATIONAL WIRE TRANSFERS

2-4                                            SUMMARY OF FUNDS TRANSFERRED TO AN ACCOUNT IN THE NAME OF JACOB
                                               KINGSTON IN TURKEY
2-5                                            FLOW OF FUNDS RE PURCHASE OF 2010 BUGATTI VEYRON

2-6                                            15.11.13 AMEX CENTURION CARD STATEMENT RE NEW CREDIT CARD FOR
                                               ISAIAH KINGSTON, JACOB KINGSTON, AND LEVON TERMENDZHYAN
2-7                                            FLOW OF FUNDS RE TERMENDZHYAN-KORKMAZ JOINT BANK ACCOUNT


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2-8                               SUMMARY OF 2018 WIRE TRANSFERS TO TURKEY

2-9                               SIGNATURE CARD FOR SPEEDY LION RENEWABLE FUEL INVESTMENTS
                                  ACCOUNT #0399
2-10                              TRANSLATED BANK STATEMENTS OF $20M WIRE FROM YILMAZ TO GT ENERGY,
                                  LLC
3-1                               FLOW OF FUNDS RE $11.2 MILLION LOAN TO ZUBAIR KAZI

3-2                               14.06.04 $1,000,000 TRANSFER FROM KAZI MGMT ST. CROIX TO NOIL ENERGY
                                  GROUP BOA #3784
3-3                               15.02.20 $210,000 WIRE FROM KAZI TO PILLAR LAW TRUST

3-4                               15.03.16 $70,000 WIRE FROM KAZI TO PILLAR LAW TRUST

3-5                               15.04.15 $70,000 WIRE FROM KAZI TO PILLAR LAW TRUST

3-6                               15.04.23 $1,000,000 WITHDRAWAL FROM KAZI MGMT ST. CROIX

3-7                               10.03.16 BUGATTI CERTIFICATE OF VEHICLE ORIGIN, BILL OF SALE AND
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3-8                               13.07.03 PASSPORT STAMP

3-9                               SUMMARIES OF TRANSACTIONS WITH NOIL-VISCON-WRE

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3-11                              13.07.01 LIENS

3-12                              13.08.27 SIGNATURE CARD (ZUBAIR KAZI AND LEVON TERMENDZHYAN)

3-13                              13.10.01 OCTOBER 1, 2013 AND OCTOBER 3, 2013 DEPOSIT OF $2,000,000

3-14                              14.06.04 JUNE 4, 2014 WITHDRAWAL OF $1,000,000

3-15                              14.06.04 DEPOSIT OF $1,000,000 TO NOIL ENERGY ACCOUNT

3-16                              14.06.04 SIGNATURE CARD FOR NOIL ENERGY ACCOUNT

3-17                              15.04.23 APRIL 23, 2015 WITHDRAWAL OF $1,000,000

3-18                              15.04.23 APRIL 23, 2015 DEPOSIT OF $1,000,000 (SBK ACCOUNT)

3-19                              15.04.20 SIGNATURE CARD FOR SBK ACCOUNT

3-20                              14.06.25 NOTICE OF DEFAULT

3-21                              14.08.15 COMPLAINT IN ZUBAIR KAZI V. WASHAKIE RENEWABLE ENERGY ET AL.

3-22                              15.02.02 SECURITY AGREEMENT BETWEEN KAZI FOODS, INC AND SBK HOLDINGS
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3-23                              15.02.02 PROMISSORY NOTE BY KAZI FOODS, INC FOR $12 MILLION TO SBK
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3-24                              15.02.04 CONFIDENTIAL SETTLEMENT AND GENERAL RELEASE AGREEMENT

3-25                              15.02.06 SUBSTITUTION OF TRUSTEE AND RECONVEYANCE DEED BACK TO
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3-26                              15.03.31 EMAIL FROM STEVE POLUDNIAK TO EDGAR SARGSYAN ASKING TO
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3-28                              15.02.20 SUMMARY OF PAYMENTS TO PILLAR LAW TRUST AND SBK HOLDINGS -
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3-31                              14.10.03 EMAIL EXCHANGE REGARDING POTENTIAL SETTLEMENT AND
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4-4                               12.06.08 EMAIL TO KATIRINA TRACY ATTACHING CARAVAN CONTRACT


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4-7                               12.06.20 EMAIL FROM JACOB KINGSTON TO KATIRINA TRACY RE INVOICES

4-8                               12.06.20 EMAIL FROM JACOB KINGSTON TO KATIRINA TRACY ATTACHING
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5-2                               MAPS OF WESTWAY AND STOLTHAVEN [DEMONSTRATIVE]

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55-17                               12.10.24 CAHILL SENDS INVOICE 7730 TO DL FOR 750,000

55-21                               12.11.26 ANTHONY MORRISSEY LETTER TRANSFERRING SHARES TO PHIL CAHILL

55-25                               12.12.07 EMAIL FROM GREG PERRIN TO BRENDAN MORRISSEY RE RESERVATION
                                    CONFIRMATION
55-26                               12.12.09 UNSIGNED JV AGREEMENT - MORRISSEY OIL AND NOIL ENERGY

55-27                               12.12.11 EMAIL FROM BRENDAN MORRISSEY TO GREG PERRIN RE BANK OF
                                    UTAH
55-28                               12.12.13 EMAIL FROM BRENDAN MORRISSEY TO GREG PERRIN RE BANK OF
                                    UTAH
55-30                               13.01.11 BRENDAN MORRISSEY EMAIL TO PHIL CAHILL TO CANCEL ALL ILLEGAL
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55-31                               13.01.12 EMAIL FROM AMANDA TO PERRIN, JACOB KINGSTON, ISAIAH
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55-32.1                             13.01.16 EMAIL FROM BM TO GP AND PC WITH PAYMENT TO KOLMAR

55-32.2                             13.01.24 EMAIL FROM KOLMAR AMERICAS TO PHILIP MORRISSEY WITH
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55-32.3                             13.01.28 EMAIL FROM TREY MEEK TO GREG PERRIN RE ALLIED FUELS INVOICE
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55-40                               13.02.15 EMAIL FROM JOSH WALLACE TO PERRIN RE RECAP OF OUR
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55-41                               13.02.15 EMAIL FROM TCM RENEWABLES TO CAHILL RE CALIFORNIA
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55-42                               13.02.15 EMAIL FROM PERRIN TO DIVIS RE CONTRACT MOR NOIL, WITH
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55-43                               13.02.25 PHILIP CAHILL LETTER ON NOIL LETTERHEAD PROPOSING
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55-44                               13.02.28 EMAIL FROM GREG PERRIN TO PHILLIP CAHILL RE INVOICE REQUEST,
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55-45                               13.03.02 EMAIL FROM BRENDAN MORRISSEY TO GREG PERRIN RE INVOICE
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55-46                               13.03.07 BRENDAN MORRISSEY EMAIL TO GREG PERRIN AND PHILIP CAHILL TO
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55-47                               13.03.11 EMAIL FROM PERRIN TO CAHILL RE LETTER OF AUTHORIZATION FOR
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55-48                               13.03.21 EMAIL FROM LEVON TERMENDZHYAN TO PERRIN RE NOIL ENERGY
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55-49                               13.03.24 EMAIL FROM BRENDAN MORRISSEY TO GREG PERRIN AND OTHERS RE
                                    INTRO REF TAX CREDIT APPLICATION
55-50                               13.03.25 EMAIL FROM LEVON TO GREG RE FW NOIL ENERGY GROUP, INC. WITH
                                    ATTACHMENTS
55-51                               13.03.25 EMAIL FROM LEVON TO TCM, JUSTIN DIVIS, PERRIN AND PHILIP RE PPW-
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55-52                               13.03.27 EMAIL FROM JUSTIN DIVIS TO LEVON, PERRIN AND CAHILL RE REVISED
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55-53                               13.04.04 EMAIL FROM GREG PERRIN TO BRENDAN MORRISSEY, PHILLIP CAHILL
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55-54                               13.04.13 B100 PURCHASE AGREEMENT WITH TCM RENEWABLES

55-55                               13.04.16 EMAIL FROM BRENDAN MORRISSEY TO GREG PERRIN AND OTHERS RE:
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55-56                               13.04.23 EMAILS FROM GREG PERRIN TO PHILIP CAHILL ET AL. RE BOLS FOR 2013
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55-58                               13.04.25 EMAIL FROM ISAIAH KINGSTON TO MORRISSEY AND JACOB KINGSTON
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55-60                               13.04.29 ATTORNEY MARK GOLDSTEIN EMAIL TO ANTHONY MORRISSEY WITH
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55-61                               13.04.30 JOSHUA WALLACE EMAIL TO BRENDAN MORRRISSEY, JUSTIN DIVIS,
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55-65                               13.06.02 EMAIL FROM BRENDAN MORRISSEY TO JACOB KINGSTON RE: VOPAK

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55-67                               13.10.17 SETTLEMENT AGREEMENT BETWEEN MORRISSEY OIL LIMITED AND
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55-68                               18.01.03 ACCOUNT QUICK REPORT FORM PERRIN – MORRISEY OIL (GP-0)

55-70.1                             13.05.10 PAGES FROM BANK OF IRELAND ACCOUNT STATEMENT FOR MORRISEY
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